       Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 1 of 17




                         GUILTY PLEA and PLEA AGREEMENT
United States Attorney

NO^D^OFG^ FILED IN OPEN COURT
                                                                                      U.S.D.C.. Atlanta

                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA SEP 1 3 2021
                                     ATLANTA DIVISION KEV!I^> WEIIVIER. Clerk
                              CRIMINAL NO. 1:20-cr-00408-MLB-CMS By/1 •W<^DeptrtyCterk

      The United States Attorney for the Northern District of Georgia ("the Government")

and Defendant Eduardo Gutierrez a/k/a Santos Campos-Ramirez enter into this plea

agreement as set forth below in Part IV pursuant to Rules ll(c)(l)(A) & (B) of the

Federal Rules of Criminal Procedure. Eduardo Gutierrez a/k/a Santos Campos-Ramirez,

Defendant, having received a copy of the above-numbered Indictment and having been

arraigned, hereby pleads GUILTY to Count One.

                                  I. ADMISSION OF GUILT

       1. The Defendant admits that he is pleading guilty because he is in fact guilty of the

crime charged in Count One.

                         H, ACKNOWLEDGMENT & WAIVER OF RIGHTS

      2. The Defendant understands that by pleading guilty, he is giving up the right to

plead not guilty and the right to be tried by a jury. At a trial, the Defendant would have

the right to an attorney, and if the Defendant could not afford an attorney, the Court

would appoint one to represent the Defendant at trial and at every stage of the

proceedings. During the trial, the Defendant would be presumed innocent and the

Government would have the burden of proving him guilty beyond a reasonable doubt.

The Defendant would have the right to confront and cross-examine the witnesses against

him. If the Defendant wished, he could testify on his own behalf and present evidence in
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 2 of 17




his defense, and he could subpoena witnesses to testify on his behalf. If, however, the

Defendant did not wish to testify, that fact could not be used against him, and the

Government could not compel him to incdmmate himself. If the Defendant were found

guilty after a trial, he would have the right to appeal the conviction.

   3. The Defendant understands that by pleading guilty, he is giving up all of these

rights and there will not be a trial of any kind.

   4. By pleading guilty, the Defendant also gives up any and all rights to pursue any

affirmative defenses. Fourth Amendment or Fifth Amendment claims, and other pretdal

motions that have been filed or could have been filed.

   5. The Defendant also understands that he ordinarily would have the right to appeal

his sentence and, under some circumstances, to attack the conviction and sentence in

post-conviction proceedings. By entering this Plea Agreement, the Defendant may be

waiving some or all of those rights to appeal and to collaterally attack his conviction and

sentence, as specified below.

   6. Finally, the Defendant understands that, to plead guilty, he may have to answer,

under oath, questions posed to him by the Court concerning the rights that he is giving up

and the facts of this case, and the Defendant's answers, ifuntruthful, may later be used

against him in a prosecution for perjury or false statements.

                  III. ACKNOWLEDGMENT OF PENALTIES

   7. The Defendant understands that, based on his plea of guilty, he will be subject to

the following maximum and mandatory minimum penalties:

As to Count One

           a. Maximum term of imprisonment: Life.

                                               2
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 3 of 17




           b. Mandatory minimum term of imprisonment: Ten (10) years.

           c. Term of supervised release: Five (5) years to Life.

           d. Maximum fme: $10,000,000.00, due and payable immediately.

           e. Full restitution, due and payable immediately, to all victims of the

              offense(s) and relevant conduct.

          f. Mandatory special assessment: $100.00, due and payable immediately.

          g. Forfeiture of any and all proceeds from the commission of the offense, any

              and all property used or intended to be used to facilitate the offense, and

              any property involved in the offense.

   8. The Defendant understands that, before imposing sentence in this case, the Court

will be required to consider, among other factors, the provisions of the United States

Sentencing Guidelines and that, under certain circumstances, the Court has the discretion

to depart from those Guidelines. The Defendant further understands that the Court may

impose a sentence up to and including the statutory maximum as set forth in the above

paragraph and that no one can predict his exact sentence at this time.

   9. REMOVAL FROM THE UNITED STATES: The Defendant recognizes that

pleading guilty may have consequences with respect to his immigration status if he is not

a citizen of the United States. Under federal law, a broad range of crimes are removable

offenses, including the offense to which the Defendant is pleading guilty. Indeed, because

the Defendant is pleading guilty to this offense, removal is presumptively mandatory.

Removal and other immigration consequences are the subject of a separate proceeding,

however, and the Defendant understands that no one, including his attorney or the District



                                             3
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 4 of 17




Court, can predict to a certainty the effect of his conviction on his immigration status.

The Defendant nevertheless affirms that he wants to plead guilty regardless of any

immigration consequences that his plea may entail, even If the consequence is his

automatic removal from the United States.

                               IV. PLEA AGREEMENT

    10. The Defendant, his counsel, and the Government, subject to approval by the

Court, have agreed upon a negotiated plea in this case, the terms of which are as follows:

                                     Dismissal of Counts

    11. The Government agrees that, upon the entry of the Judgment and Commitment

Order, any and all remaining counts in the above-styled case still pending against the

Defendant shall be dismissed pursuant to Standing Order No. 07-04 of this Court and to

Rule 48(a) of the Federal Rules of Criminal Procedure. The Defendant understands that

the Probation Office and the Court may still consider the conduct underlying such

dismissed counts in determining relevant conduct under the Sentencing Guidelines and a

reasonable sentence under Title 18, United States Code, Section 3553(a).

                                   No Additional Charges

    12. The United States Attorney for the Northern District of Georgia agrees not to

bring further criminal charges against the Defendant related to the charges to which he is

pleading guilty. The Defendant understands that this provision does not bar prosecution

by any other federal, state, or local jurisdiction.
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 5 of 17




                         Sentencing Guidelines Recommendations

    13. Based upon the evidence currently known to the Government, the Government

agrees to make the following recommendations and/or to enter into the following

stipulations:

Base/Adjusted Offense Level

    14. The Government agrees to recommend and the Defendant agrees that:

           a. The applicable offense guideline is Section 2D 1.1.

           b. The criminal activity undertaken by the Defendant and others acting in

                concert with the Defendant involved the distribution of more than 5

                kilograms of cocaine and more than 500 grams ofmethamphetamine, of

                which, 10 kilograms ofmethamphetamine was reasonably foreseeable to

                the Defendant.

Acceptance of Responsibility

   15. The Government will recommend that the Defendant receive an offense level

adjustment for acceptance of responsibility, pursuant to Section 3E 1.1, to the maximum

extent authorized by the guideline. However, the Government will not be required to

recommend acceptance of responsibility if, after entering this Plea Agreement, the

Defendant engages in conduct inconsistent with accepting responsibility. Thus, by way of

example only, should the Defendant falsely deny or falsely attempt to minimize the

Defendant's involvement in relevant offense conduct, give conflicting statements about

the Defendant's Involvement, fail to pay the special assessment, fail to meet any of the

obligations set forth in the Financial Cooperation Provisions set forth below, or

participate in additional criminal conduct, including unlawful personal use of a controlled
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 6 of 17




substance, the Government will not be required to recommend acceptance of

responsibility.

Safety Valve

    16. The Government agrees to recommend that the Defendant's offense level be

decreased by 2 levels pursuant to Sections 2Dl.l(b)(18) and 5C 1.2 of the Sentencing

Guidelines. However, if the Government determines that the Defendant has failed to

comply with Section 5CL2(a)(5), the Government will not be required to make this

recommendation. In addition, the Defendant understands that the Court will determine

whether the Defendant meets each of the criteria set forth in Sections 2DLl(b)(18) and

5C 1.2, and if the Court determines that the Defendant fails to meet any of those criteria,

the Government will not be required to make this recommendation.

                   Right to Answer Questions, Correct Misstatements,
                              and Make Recommendations

    17. The parties reserve the right to inform the Court and the Probation Office of all

facts and circumstances regarding the Defendant and this case, and to respond to any

questions from the Court and the Probation Office and to correct any misstatements of

fact or law. Except as expressly stated elsewhere in this Plea Agreement, the parties also

reserve the right to make recommendations regarding application of the Sentencing

Guidelines. The parties understand, acknowledge, and agree that there are no agreements

between the parties with respect to any Sentencing Guidelines issues other than those

specifically listed.
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 7 of 17




                            Right to Modify Recommendations

    18. With regard to the Government's recommendation as to any specific application

of the Sentencing Guidelines as set forth elsewhere in this Plea Agreement, the Defendant

understands and agrees that, should the Government obtain or receive additional evidence

concerning the facts underlying any such recommendation, the Government will bring

that evidence to the attention of the Court and the Probation Office. In addition, if the

additional evidence is sufficient to support a finding of a different application of the

Guidelines, the Government will not be bound to make the recommendation set forth

elsewhere in this Plea Agreement, and the failure to do so will not constitute a violation

of this Plea Agreement.

                              Sentencing Recommendations

Fine—No Recommendation as to Amount


   19. The Government agrees to make no specific recommendation as to the amount of

the fine to be imposed on the Defendant within the applicable guideline range.

Forfeiture

   20. The Defendant acknowledges that each asset listed below is subject to forfeiture

pursuant to Title 21, United Sates Code, Section 853, and agrees that he shall

immediately forfeit to the United States any property constituting, or derived from,

proceeds obtained, directly or indirectly, as a result of said violations and any property

used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of the offense in Count One of the Indictment, including, but not limited to,

the following:

           a. $116,995 in U.S. currency seized on July 20, 2020


                                               7
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 8 of 17




   21. The Defendant waives and abandons all right, title, and interest in the property

listed above (hereinafter, the "Subject Property") and agrees to the administrative or

judicial forfeiture of the Subject Property. In addition, the Defendant waives and

abandons his interest in any other property that may have been seized in connection with

this case. The Defendant agrees to the administrative or judicial forfeiture or the

abandonment of any seized property.

   22. The Defendant states that he is the sole and rightful owner of the Subject

Property, that to the best of his knowledge no other person or entity has any interest in the

Subject Property and that he has not transferred, conveyed, or encumbered his interest in

the Subject Property. The Defendant agrees to take all steps requested by the United

States to facilitate transfer of title of the Subject Property, including providing and

endorsing title certificates, or causing others to do the same where third parties hold

nominal title on the Defendant's behalf, to a person designated by the United States. The

Defendant agrees to take all steps necessary to ensure that the Subject Property is not

hidden, sold, wasted, destroyed, or otherwise made unavailable for forfeiture. The

Defendant agrees not to file any claim, answer, or petition for remission or restitution in

any administrative or judicial proceeding pertaining to the Subject Property, and if such a

document has already been filed, the Defendant hereby withdraws that filing.

   23. The Defendant agrees to hold the United States and its agents and employees

harmless from any claims made in connection with the seizure, forfeiture, or disposal of

property connected to this case. The Defendant acknowledges that the United States will

dispose of any seized property, and that such disposal may include, but is not limited to,

the sale, release, or destruction of any seized property, including the Subject Property.


                                               8
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 9 of 17




The Defendant agrees to waive any and all constitutional, statutory, and equitable

challenges in any manner (including direct appeal, a Section 2255 petition, habeas

corpus, or any other means) to the seizure, forfeiture, and disposal of any property seized

in this case, including the Subject Property, on any grounds.

   24. The Defendant acknowledges that he is not entitled to use forfeited assets,

including the Subject Property, to satisfy any fine, restitution, cost of imprisonment, tax

obligations, or any other penalty the Court may impose upon the Defendant in addition to

forfeiture.

   25. The Defendant consents to the Court's entry of a preliminary order of forfeiture

against the Subject Property, which will be final as to him, a part of his sentence, and

incorporated into the judgment against him.

                            Financial Cooperation Provisions

Special Assessment

   26. The Defendant agrees that he will pay a special assessment in the amount of $100

by money order or certified check made payable to the Clerk of Court, U.S. District

Court, 2211 U.S. Courthouse, 75 Ted Turner Drive SW, Atlanta, Georgia 30303, by the

day of sentencing. The Defendant agrees to provide proof of such payment to the

undersigned Assistant United States Attorney upon payment thereof.

Fine/Restitution " Terms of Payment

   27. The Defendant agrees to pay any fine and/or restitution, plus applicable interest,

imposed by the Court to the Clerk of Court for eventual disbursement to the appropriate

account and/or victim(s). The Defendant also agrees that the full fine and/or restitution

amount shall be considered due and payable immediately. If the Defendant cannot pay the


                                              9
   Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 10 of 17




full amount immediately and is placed in custody or under the supervision of the

Probation Office at any time, he agrees that the custodial agency and the Probation Office

will have the authority to establish payment schedules to ensure payment of the fine

and/or restitution. The Defendant understands that this payment schedule represents a

miniimjm obligation and that, should the Defendant's financial situation establish that he

is able to pay more toward the fine and/or restitution, the Government is entitled to

pursue other sources of recovery of the fine and/or restitution. The Defendant further

agrees to cooperate fally in efforts to collect the fine and/or restitution obligation by any

legal means the Government deems appropriate. Finally, the Defendant and his counsel

agree that the Government may contact the Defendant regarding the collection of any fine

and/or restitution without notifying and outside the presence of his counsel.

Financial Disclosure

   28. The Defendant agrees that the Defendant will not sell, hide, waste, encumber,

destroy, or otherwise devalue any such asset worth more than $1,000 before sentencing,

without the prior approval of the Government. The Defendant understands and agrees that

the Defendant's failure to comply with this provision of the Plea Agreement should result

in the Defendant receiving no credit for acceptance of responsibility.

   29. The Defendant agrees to cooperate fully in the investigation of the amount of

forfeiture, restitution, and fine; the identification of funds and assets in which he has any

legal or equitable interest to be applied toward forfeiture, restitution, and/or fine; and the

prompt payment of restitution or a fine.

   30. The Defendant's cooperation obligations include: (A) fully and truthfully

completing the Department of Justice's Financial Statement of Debtor form, and any


                                              10
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 11 of 17




addenda to said fonn deemed necessary by the Government, within ten days of the

change of plea hearing; (B) submitting to a financial deposition or interview (should the

Government deem it necessary) prior to sentencing regarding the subject matter of said

form; (C) providing any documentation within his possession or control requested by the

Government regarding his financial condition and that of his household; (D) fully and

truthfully answering all questions regarding his past and present financial condition and

that of his household in such interview(s); and (E) providing a waiver of his privacy

protections to pennit the Government to access his credit report and tax information held

by the Internal Revenue Service.

   31. So long as the Defendant is completely truthful, the Government agrees that

anything related by the Defendant during his financial interview or deposition or in the

financial forms described above cannot and will not be used against him in the

Government's criminal prosecution. However, the Government may use the Defendant's

statements to identify and to execute upon assets to be applied to the fine and/or

restitution in this case. Further, the Government is completely free to pursue any and all

investigative leads derived in any way from the intemew(s)/deposition(s)/fmancial

forms, which could result in the acquisition of evidence admissible against the Defendant

in subsequent proceedings. If the Defendant subsequently takes a position in any legal

proceeding that is inconsistent with the mtemew(s)/deposition(s)/fmancial fomis-

whether in pleadings, oral argument, witness testimony, documentary evidence,

questioning of witnesses, or any other manner-the Government may use the Defendant s

intendew(s)/deposition(s)/fmancial forms, and all evidence obtained directly or indirectly

therefrom, in any responsive pleading and argument and for cross-examination,


                                             11
   Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 12 of 17




impeachment, or rebuttal evidence. Further, the Government may also use the

Defendant's interview(s)/deposition(s)/flnancial forms to respond to arguments made or

issues raised sua sponte by the Magistrate or District Court.

                      Recommendations/Stipulations Non-binding

   32. The Defendant understands and agrees that the recommendations of the

Government incorporated within this Plea Agreement, as well as any stipulations of fact

or guideline computations incorporated within this Plea Agreement or otherwise

discussed between the parties, are not binding on the Court and that the Court's failure to

accept one or more of the recommendations, stipulations, and/or guideline computations

will not constitute grounds to withdraw his guilty plea or to claim a breach of this Plea

Agreement.


                                Limited Waiver of Appeal

   33. LIMITED WAIVER OF APPEAL: To the maximum extent permitted by federal

law, the Defendant voluntarily and expressly waives the right to appeal his conviction and

sentence and the right to collaterally attack his conviction and sentence in any post-

conviction proceeding (including, but not limited to, motions filed pursuant to Title 28,

United States Code, Section 2255) on any ground, except that the Defendant may file a

direct appeal of an upward departure or upward variance above the sentencing guideline

range as calculated by the District Court. Claims that the Defendant's counsel rendered

constitutionally ineffective assistance are excepted from this waiver. The Defendant

understands that this Plea Agreement does not limit the Government's right to appeal, but

if the Government initiates a direct appeal of the sentence imposed, the Defendant may

file a cross-appeal of that same sentence.

                                             12
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 13 of 17




                                  Miscellaneous Waivers

FOIA/Privacy Act Waiver

   34. The Defendant hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency of the United States

any records pertaining to the investigation or prosecution of this case, including, without

limitation, any records that may be sought under the Freedom of Information Act, Title 5,

United States Code, Section 552, or the Privacy Act of 1974, Title 5, United States Code,

Section 552a.

Waiver of Right to Challenge Prior Convictions

   35. In consideration of the benefits received by Defendant under the terms of this Plea

Agreement, the Defendant agrees that he will not challenge, either directly or collaterally,

in any manner, any prior sentence and/or conviction in any court. The Defendant further

agrees that, in the event that a prior sentence or conviction is vacated, this event will not

serve as the basis for a reduced sentence in any collateral attack on the sentence in this

case.




                            [CONTINUED ON NEXT PAGE]




                                              13
   Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 14 of 17




                                No Other Agreements

   36. There are no other agreements, promises, representations, or understandings

between the Defendant and the Government.



In Open Court this 13th day of September, 2021.




                                                  <^^/^ CC^^PO^
 SIGNATURE (Defendah^ttomey)                      SIGNATURE (Defendant)7
Kamal Ghali                                       Eduardo Gutierrez a/k/a Santas Campos-Ramirez




              AAr
 SteNATllRE (Assistant U.S. Attorney)
 C Brock Brockington




    ^J^^^^J.. ^Y
 SIGS^TURE (Approving Qffidal
Elizabeth M. Hathaway




                                          14
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 15 of 17




    I have read the Indictment against me and have discussed it with my attorney. I

understand the charges and the elements of each charge that the Government would have

to prove to convict me at a trial. I have read the foregoing Plea Agreement and have

carefully reviewed every part of it with my attorney. I understand the terms and

conditions contained in the Plea Agreement, and I voluntarily agree to them. I also have

discussed with my attorney the rights I may have to appeal or challenge my conviction

and sentence, and I understand that the appeal waiver contained in the Plea Agreement

will prevent me, with the narrow exceptions stated, from appealing my conviction and

sentence or challenging my conviction and sentence in any post-conviction proceeding.

No one has threatened or forced me to plead guilty, and no promises or inducements have

been made to me other than those discussed in the Plea Agreement. The discussions

between my attorney and the Government toward reaching a negotiated plea in this case

took place with my permission. I am fully satisfied with the representation provided to

me by my attorney in this case.



  ^ r> ^^^ ^ Cn^i Pc? ^ ^L_^
 SIGNATURE (Defendant) DATE
 Eduardo Gutierrez a/k/a Santas Campos-Ramirez

   I am Eduardo Gutierrez a/k/a Santos Campos-Ramirez's lawyer. I have carefully

reviewed the charges and the Plea Agreement with my client. To my knowledge, my

client is making an informed and voluntary decision to plead guilty and to enter into the

Plea Afgreement


                                                          ^ Q\^
 SIGNATURE (r^fendant's Attorney) DATE
 Kamal Ghali
                                                 15
      Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 16 of 17




                INFORMATION BELOW MUST BE TYPED OR PRINTED


Kamal Ghali _ Eduardo Gutierrez a/k/a Santas Campos-Ramirez
NAME (Attorney for Defendant) NAME (Defendant)

Bondurant Mixson & Elmore, LLP
3900 One Atlantic Center
STREET STREET


Atlanta, Georgia 30309
CITY & STATE ZIP CODE CITY & STATE ZIP CODE

PHONE NUMBER ('404)881-4111 _ PHONE NUMBER




STATE BAR OF GEORGIA NUMBER 805055


Filed in Open Court



By.




                                       16
    Case 1:20-cr-00408-MLB-CMS Document 166-1 Filed 09/13/21 Page 17 of 17




                           U S. DEPARTMENT OF JUSTICE
                         Statement of Special Assessment Account
This statement reflects your special assessment only. There may be other penalties
imposed at sentencing.



                              ACCOUNT INFORMATION
CRIMINAL ACTION NO.:             1:20-cr-00408-MLB-CMS
DEFENDANT'S NAME:                EDUARDO GUTIERREZ a/k/a SANTOS CAMPOS-RAMIREZ
PAY THIS AMOUNT:                 $100

Instructions:
   1. Payment must be made by certified check or money order payable to:
                            Clerk of Court, U.S. District Court
                         ^personal checks will not be accepted*
   2. Payment must be made to the clerk's office by the day of sentencing.
   3. Payment should be sent or hand delivered to:
                            Clerk, U.S. District Court
                            2211 LLS. Courthouse
                            75 Ted Turner Drive SW
                            Atlanta, Georgia 3 03 03
                            (Do Not Send Cash)
   4. Include the defendant's name on certified check or money order.
   5. Enclose this coupon to insure proper and prompt application of payment.
   6. Provide proof of payment to the above-signed AUSA within 30 days of the guilty
       plea.




                                            17
